                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO

    IN RE
                                                        BANKRUPTCY 19-04782 MCF
    MICKEL QUILES SERRANO
                                                        CHAPTER 7
    ANA MIRCAS ARAUJO FEBLES
    Urb. Vistas de Camuy
    G-17 Calle 2
    Camuy PR 00627

    SS xxx-xx-4120
       xxx-xx-9238
    Debtor’s



               NOTICE TO CREDITORS & OTHER PARTIES IN INTEREST

   NOTICE IS HEREBY GIVEN THAT:
           A §341 Meeting of Creditors will be held at the OCHOA BUILDING, TANCA ST.,
   1st FL., COMERCIO ST ENTRANCE, OLD SAN JUAN, PUERTO RICO on October 23,
   2019 at 11:30 a.m. to consider the following matter:


§341 MEETING OF CREDITORS previously scheduled for October 10, 2019 at 11:30 a.m.
has been rescheduled to October 23, 2019 at11:30 a.m.


       CERTIFY: On this same date this Notice has been electronically filed and caused to
be noticed to participants. A copy has also been mailed by regular mail to all other creditors
and parties in interest pursuant to the attached matrix.

           In Caguas for San Juan this 11 of October, 2019



                                                  /s/   L.A. Morales
                                                  USDC 121100
                                                  L.A. MORALES & ASSOCIATES P.S.C.
                                                  URB VILLA BLANCA
                                                  CAGUAS, PUERTO RICO 00725-1908
                                                  TEL.: 746-2434 FAX: 258-2658
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